 19-13895-jlg     Doc 253-1      Filed 06/02/20 Entered 06/02/20 20:14:31            Stipulation
                                     and Order Pg 1 of 1



                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

 In re Orly Genger,
                                                           Chapter 7
                      Debtor.
                                                           Case No. 19-13895-JLG



                     STIPULATION AND ORDER CONCERNING
                   REDACTION OF CONFIDENTIAL INFORMATION

       WHEREAS, creditor/interested party Eric Herschmann (“Herschmann”) has informed

creditor/interested party Sagi Genger (“Sagi”) that Exhibit DD to Sagi’s Amended Motion to

Dismiss (ECF Doc. 239-31) contains private and confidential information;

       WHEREAS, Sagi has no objection to revising the redactions on that exhibit so that the

private and confidential information is not publicly disclosed;

       NOW THEREFORE, the undersigned parties agree that the Clerk of the Court shall

replace ECF Doc. 239-31 with the version attached hereto, in which Herschmann has redacted

the additional private and confidential information.

Dated: May 28, 2020

 By: /s/ Eric D. Herschmann                       By: /s/ John Dellaportas
 Eric D. Herschmann                               John Dellaportas
                                                  Thomas A. Pitta
 Creditor                                         Emmet, Marvin & Martin
                                                  120 Broadway, 32nd Floor
                                                  New York, NY 10271
                                                  212-238-3092

                                                  Counsel for creditor Sagi Genger

 SO ORDERED:

 __________________________
 Hon. James L. Garrity, Jr.
